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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                Plaintiff,
                                                             CASE NO. 1:20-cr-183
v.
                                                             HON. ROBERT J. JONKER
ADAM DEAN FOX,
BARRY GORDON CROFT, JR.,
KALEB JAMES FRANKS,
DANIEL JOSEPH HARRIS and
BRANDON MICHAEL-RAY CASERTA,

                Defendants.
                                              /


                                             ORDER

         On September 8, 2021, defendants filed a joint motion to continue all pending dates,

including final pretrial and jury trial. ECF No. 331. The government shall file a response to the

motion by September 15, 2021. A hearing on the motion is scheduled for September 17, 2021 at

10:00 a.m. Both counsel and defendants shall be present at the hearing.

         The Rule 17.1 pretrial conference set for September 14, 2021, is cancelled.




Date:     September 9, 2021                   /s/ Robert J. Jonker
                                              ROBERT J. JONKER
                                              CHIEF UNITED STATES DISTRICT JUDGE
